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IN THE CRIMMINAL COURT OF APPEALS OF TENNESSEE

 

WESTERN SECTION
STATE OF TENNESSEE )
Appellee, §
v. § No. W2010-02073-CCA-R3-CD
Mike Parsons, g
Appellant §

 

AFFIDAVIT OF PAT PARSCNS

 

COMES NOW, Pat Parsons, and states the following:

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2.

l am a resident citizen of Tipton County, Tennessee, and am over the age of 18.

On or about January ll, 2012, I was informed by attorney Richard Fields that the
Appellate Court had ruled on my husband’s, Mike Parsons, appeal before the court.

I was further notified by attorney Richard Fields during that phone conversation that
Mike had until the following Monday, January 16, ,2012, to file his application to appeal
to the Supreme Court of Tennessee.

To date, attorney Richard Fields has failed to inform me when he became aware of the
Appellate Courts ruling, why he waited so long to inform me of their ruling and why he
did not mail a copy of the ruling to Mike or me, and had me dn`ve 50 miles to his office
to get a copy and get a copy to Mike myself

To date, attorney Richard Fields has made no effort to prepare or file any appeal to the
Supreme Court as he was hired to do.

To date, attorney Richard Fields has never notified the Court of Appeals that he has

abandoned my husband’s, Mike Parsons, case.

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7. To date, attorney Richard Fields has never notified the Court of Appeals that he wished

to be released or withdraw from my husband’s, Mike Parsons, case.

FURTHER DEPONENT SAITH NOT

/Q+vw/OW

Pat Parsons

STATE OF TENNESSEE

COUNTY OF $HELHZ

On this 5 day of &"BMM , 2011 before me, a Notary Public of the
State of Tennessee and 515sz County, personally appeared Pat Parsons to
me known (or prove to me on the basis of satisfactory evidence), and who, upon
oath, acknowledged that he executed the foregoing instrument for the purpose
therein contained.

NOTARY PUBLIC

My Commission Expires:

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Michael Wayne Parsons

s'rA'rE or TENNESSEE - ,_ `v,.m‘r‘n'T`~ug es ca ~ §
Brighton TN 38011

duly sworn according to the iaw. states that

' Michaei Wavne Parsons

 

The undersigned affiant, after being

Convicted Felon ln Poss Oi` Firearm

 

 

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n l .

_ _+ ' . . . .
g whose name is otherwue unknown to the affiant, committed the offense of__

ii W -~__ 1 ..

§ ME_,... in the above county on or about _____,,_,_.__....._LE-, 2014
1‘ Further, affiant makes oath that the essential facts constituting said offense, the sources of ait`iant’s information,
;§i and thc reasons why is er in ormation is believable concerning said facts are as follows:

 

 

ij On 2/11/14 Tipton County Sheriff's Office Personnel, Tipton County Anima| Control, Dr. Aubrey Haley

*'§' DVM, and Michaei Parsons’ Parole Ofticer, Danny Johnson went to 444 Hughes road in regards to an animal cruelty

`_; complaint from PETA and to conduct a compliance check to determine if Michael Parsons was in compliance with the

"`:,/j, conditions of his parole . 'l`hc animals were visually examined by Dr. Haley and appeared to be in satisfactory health

f f [ and have adequate shelter. Parole Ofi'icer Danny .Iohnson and investigator Mlchael Grecn conducted a search of

l Parsons’ residence lnside the residence investigator Green located two camouflage type backpacks. inside the two

` l packs were approximately 865 rounds of different caliber ammunition investigator Green then asked Patricia Parsons

i"' l ii there were any guns in the house and she stated there was a rifle in the bedroom. she then took me back to their

»_ § bedroom and pointed to a closet with no door. l located a Remington 700 ADL 308 caliber (Serial # RR44565C ).
tated she_§iid_n_oti_liithll tep£§§boutthe gun because*s_l_\_g___v_v__q_gted to protect her husband.

1-'- 11 Patr_icia Parsol_\§¢s_~ __, umw
Patricla called “Mike's ". lnvestlgators located 2 AR-l§ Beta

 

  
    
  

,..,..~v._

' l investigators then continued my search in what
` ~ magazines, a tactical industries .22 caliber conversion kit for AR15, and a 22 caliber magazine for an ARIS.

l""‘f\¢ s
~i:'-‘; investigator Green spoke with Patricia Parsons and asked her again if there were any other weapons in the house. She

;','!§ stated she had a .357 pistol in the same bedroom as the rifie. h it belon ed to her. I located a Smith and Wesson
§ Model 686 (serial # BBD9743) loaded with 6 rounds of ammunition in a shoe box approxiamtley two feet from the side
;,1§; of the bed. Michae| Parsons was arrested for Convicted felon in possession of a firearm and transported to jail

if .,'.§

 

 

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r_:__ji lnvesti ator Marlt Dou herty, Paroie Officer Danny Johnson, Det. Rodriguez, Lt. Nessly
-' ‘1

 

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investigator MichaelGre¢n § 2

 

 

 

 

 

 

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"`, ARRES`Y WARRA`N'Y

iN THE GENERAL SESSIONS CC)URT OP TEP‘TON COUNTY

,` v
vi srA'ra or TENNESSEE vs. Micnaei Wayne Parsons

»\~n serv r sworn msmm:n nn THE §TATF.:

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all ' ' Michael Wayne P|a?s§nc§g]lo 16 Page 4 Of 4 PaQe|D 213
M§ .

"'3‘ Convicted Felon in Poss Of Firearm

 

 

i..<§' whose name is otherwise unknown to the affiant, committed the offense of

39°17'1307 E/[';_,__.in the above county on or about
Further, affiant makes oath that the essential facts constituting said offense, the sources of affiant’s information

nformation is believable concerning said facts are as follows:

2/11, 2014

\:,'g‘l and thc reasons why his/her i

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*é§i.

§ 0n 2/l l/i4 Tipton County Sherift`s Oi`l`ice Personnei, Tipton County Animal Control, Dr. Aubrey Haiey
l

§ DVM, and Micl\ael Parsons' Parolc Oflicer, Danny Johnson went to 444 Hughes road in regards to an animal cruelty
:, PETA and to conduct a compliance check to determine if Michael Parsons was in compliance with the
g isually examined by Dr. i-ialey and appeared to be in satisfactory health

g l \ and have adequate shelter. Parole Ol`ticer Danny Johnson and lnvestlgator Michael Green conducted a search of

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` i packs were approximately 865 rounds of different caliber ammunition investigator Green then asked Patricia Parsons
;" g if there were any guns in the house and she stated there was a rifle in the bedroom. she then took me back to their

__ j bedroom and pointed to a closet with no door. l located a Remington 700 ADL 308 caliber (Serial # RRM565C ).

il; g patricia Parsons stated she did not initially tell me about the gun because she wanted to protect her husband.

ag Investigators then continued my search in what Patricia called "Mike's Oflice". lnvestigators located 2 AR-lS Beta
if g magazines, a tactical industries .22 caliber conversion kit for ARlS, and a 22 caliber magazine for an ARl 5.

:. --l investigator Green spoke with Patrlcia Parsons and asked her again if there were any other weapons in the house. She

:L'u'i stated she had a .357 pistol in the same bedroom as the rli'le. She stated it belonged to her. i locat
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_ii of the bed. Michael Parsons was arrested for Convicted felon in possession of a firearm and transported to jail

`-| complaint from
` ii conditions of his parole . The animals were v

   

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‘ waNEssas=
' investigator Mark Daugherty, Parole Officer Danny Johnson, Det. Rodriguez, Lt. Nesslv

ii Af£`tant - N and Addres '
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investigator Michael Green

Sv$»\ to and subscribed before me this

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?751. iN THE GENERAL SESSIONS COURT OF TlI’TON COUNTY

"'?i:

g STATE OF TENNESSEB vs. Michael Wayne Par§ons

§T'j,,- To ANY LAWFUL ol=FicEa or THE s'ra're=

<; '~'

§§ Based upon the affidavit(s) of complaint made and sworn to before me by

§§ investigator Michael Green

r '<g

l § there is probable cause to believe that the offense(s) of C°nvi°ted Fe|°n in poss Of Firearm

i.jj:

has been committed in Tipton County, Temlcssce, and charging _.WH#. Mic.h,_a.e_§.,__‘Val_n€£a}___,._'wns ,___~_.e_e.__m

".`,gl_ thereof. you are therefore commanded in the name of the State of Tcnnessee forthwith to arrest and bring the said
accused person before the Court of General Sessions ofTipton County, 'I`ennessee, to answer the said charges

\é;\; __ felonies wise ht¢ilf.@ M&§/§f`)

ed a Smith and Wesson

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